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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROGER VANDERKLOK,                                         CIVIL ACTION

       Plaintiff,                                         NO. 15-00370

       v.

UNITED STATES OF AMERICA, et al.,

       Defendants.

                                             ORDER
       AND NOW, this 26th day of August, 2016, it is ORDERED that the Clerk of Court

mark this action closed for statistical purposes and place the matter in the Civil Suspense File

pending the Third Circuit Court of Appeals’ resolution of the interlocutory appeal (ECF No. 98).



                                                     BY THE COURT:



                                                     /s/ Gerald J. Pappert
                                                     GERALD J. PAPPERT, J.
